Case 2:17-cv-01731-TSZ Document 21-21 Filed 03/08/18 Page 1 of 3




                     EXHIBIT 9
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                                        )11-k33-lm-12&3.4116-.,-n*,o10p,-q
                               F99;r>sJ


     A99<;B<;:8CD;EFG;H>IJB@C8IK
     LMMNOPQMNRSTPQOUVRPSNUWPXVNYLZN[PS\X]VRS^_NTRS`NUS`NUaa]bNVPNcPW\NVdUVNOUV[dNbPXQN\eR]]\_NUS`N[PSSM[VNfRVdNaMPa]MNVP
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                  Case 2:17-cv-01731-TSZ Document Filed
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